 1   Dan Stormer, Esq. [S.B. #101967]
     Hanna Chandoo, Esq. [S.B. #306973]
 2   Bina Ahmad, Esq. [SB. #329387]
     HADSELL STORMER RENICK & DAI LLP
 3   128 N. Fair Oaks Avenue
     Pasadena, California 91103
 4   Telephone: (626) 585-9600
     Facsimile: (626) 577-7079
 5   Emails: dstormer@hadsellstormer.com
             hchandoo@hadsellstormer.com
 6           bahmad@hadsellstormer.com
 7   Attorneys for Amici Curiae
     JEWISH VOICE FOR PEACE
 8
 9                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS
10
11   PRESIDENT AND FELLOWS OF          Case No.: 1:25-cv-11048-ADB
     HARVARD COLLEGE,
12                                     [Assigned to the Honorable Judge
                   Plaintiffs,         Burroughs]
13
           v.                          DECLARATION OF STEFANIE FOX,
14                                     EXECUTIVE DIRECTOR OF A
     UNITED STATES DEPARTMENT OF       JEWISH VOICE FOR PEACE
15   HEALTH AND HUMAN SERVICES, et
     al.,
16
                  Defendants.
17
18
19
20
21
22
23
24
25
26
27
28
     CAPTION
 1                           DECLARATION OF STEFANIE FOX
 2   I, Stefanie Fox, declare under penalty of perjury that the following is true and correct to
 3   the best of my knowledge:
 4      1. I am Executive Director of A Jewish Voice for Peace (“JVP”), a U.S. based,
 5         grassroots membership organization mobilizing Jewish communities to fight for a
 6         just society in Palestine/Israel rooted in human rights rather than oppression,
 7         equality rather than supremacy, dignity rather than domination, democracy rather
 8         than dispossession. A society where every life is precious. I have been on staff
 9         with JVP for a total of 16 years. I have been Executive Director for the last 5
10         years.
11      2. I am Jewish, the descendent of Ashkenazi Jews who barely survived antisemitic
12         pogroms and instilled in me that the core of being Jewish is a belief that every
13         life is a whole universe made b'tselem Elohim, in the image of the divine. I do my
14         work for justice in Palestine/Israel and raise my Jewish child understanding that
15         the Jewish obligation to save lives, pikuach nefesh, supersedes all other Jewish
16         laws.
17      3. With 720,000 members and supporters, JVP is one of the largest progressive
18         Jewish organizations in the world.
19      4. JVP believes that our voices and actions are needed because the Zionist
20         movement and the state of Israel purport to speak for and act on behalf of all
21         Jews.
22      5. We work to build with allied U.S.-based movements for justice towards
23         liberation in Palestine/Israel and everywhere.
24      6. We are committed to both Jewish communities and Palestinian communities, and
25         to creating the future we all deserve.
26      7. Our work is inspired by the Jewish Warsaw Ghetto fighters, labor organizers,
27         Civil Rights veterans and many more ancestors who worked tirelessly for
28         liberation – of all people.
      DECL OF FOX ISO AMICUS CURIAE JVP             -1-
 1      8. We commit to dismantling antisemitism in the most effective way possible: as
 2         part of our struggle against all forms of oppression and bigotry.
 3      9. We are committed to building an organizing home where Black, Indigenous,
 4         Latinx, Asian, SWANA/Mizrahi, and Sephardi Jewish members feel welcome,
 5         home, and whole, where white Jews feel supported to build their anti-racist praxis
 6         and bring their full selves, where all of our work embodies the multiplicity of
 7         Jewish histories, lineages, stories, and traditions, where each of us can name and
 8         fight out of our own specific stakes in building Jewish futures beyond
 9         nationalism and Zionism.
10      10. Some Jewish legacy institutions make supporting the Israeli government the
11         price of entry into our religion. They suggest that our millennia-old religion
12         requires adherence to Zionism: an ideology that has required in practice the
13         dispossession, occupation, oppression of Palestinians to create and maintain an
14         ethno-state where Jews have more rights than Palestinians on their own
15         indigenous land.
16      11. As Jews, we do not believe that to be Jewish you must support Zionism. We
17         welcome our communities into the life-affirming politics of anti-Zionism. Where
18         Zionism suggests Jews require a supremacist nation state to answer the real
19         question of Jewish safety, anti-Zionism means supporting justice for the
20         Palestinian people, including their right to live in freedom and equality, and to
21         return to their homes and land. Anti-Zionism also means believing that Jews, and
22         all people, belong and should be safe wherever they live.
23
24   Dated: June 9, 2025
25
26                                                       Stefanie Fox
27
28

     DECL OF FOX ISO AMICUS CURIAE JVP            -2-
